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              EXHIBIT 1
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Atiorricvs.fin• Defendant


                         IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF       Al I. SOUTI IERN DIVISION


 JACOB M. SCOTT, an individual,
                                                       SECOND AFFIDAVIT OF SHAYNE
                                                               GALLAGHER
         Plaintiff

 V
                                                               Case No. 4:18-cv-002-DN

 WINGATE WILDERNESS THERAPY LLC,
                                                                  J udge David Nuffer
 a Utah Limited Liability Company;

         Defendant.


STATE OF UTAH

                              :ss.


COUNTY OF KANE

I, Shayne Gallagher, being first duly sworn deposes and states:

      . I am over 18 years of age and of sound mind.

     2. At all times set forth below I was, and currently am, the Executive Director of Wingate

        Wilderness Therapy ("Wingate").

     3. I have personal knowledge of the facts stated below.
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4. Wingate commonly treats youth with post-traumatic stress disorder ("PTSD"), emotional

   trauma, anxiety, depression, hi-polar disorder, reactive attachment disorder, obsessive

   compulsive disorder, substance abuse, attention deficit disorder, suicide ideation,

   borderline personality disorder, oppositional defiance disorder, and other behavioral

   disorders.

5. On average, a participant is in our therapeutic treatment program for sixty to eighty days.

6. Wingate is often used as a primary therapeutic program before clients go to longer-tern

   secondary programs. Due to the effectiveness of Wingate's therapy program, historically

   many longer-term programs, such as residential treatment programs, will not accept a client

   unless the client has first Zone through our wilderness therapy program, or a program

   similar to ours.

7. Wingate commonly receives referrals for clients who have not been successful in

   residential treatment facilities, therapeutic boarding schools, and young adult sober living

   community programs. These clients attend Wingate and then return to the initial program

   for additional treatment.

8. Wingate's website references hoot camps and highlights the differences between

   traditional boot camps and the therapeutic treatment program at Wingate. Parents looking

   for services that Wingate provides often conduct online searches using the term "boot

   camp" as they are not familiar with the term "wilderness therapy program." Wingate's

   inclusion of a comparison with boot camps on its website helps increase the website's

   search engine optimization ("SEW).

9. Wingate typically has between forty to eighty participants at any time in our therapeutic

                                            2
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       program. Many of these individuals suffer from more than one disorder, aliment, or

       condition. Currently, Wingate has forty-five participants receiving therapeutic treatment

       for a variety of diagnosis. These forty-five individuals are being treated as follows: sixteen

       participants are being treated for depression; thirty-one participants are being treated for

       substance abuse; eighteen participants are receiving counseling for parent-child

       relationship problems; seven participants are being treated for anxiety: ten participants are

       being treated for PTSD/emotional trauma; twelve participants are being treated for

       oppositional defiance disorder: one participant is being treated for attention deficit

       hyperactive disorder: two are being treated for borderline personality disorder; three are

       being treated for reactive attachment disorder; and two participants are being treated for

       neurodevelopmental/spectrum related issues.

    1 0. Wingate accepts insurance payments for clients. Typically, insurance covers all individual

       and group therapy sessions.

    1 1. Prior to enrollment, an Application for Enrollment is completed for each participant

       detailing their physical and mental health, as well as the reasons for seeking treatment at

       Wingate.

   12. Once admitted, a Treatment Plan is prepared by a health care professional for each

       individual in our therapeutic program. The Treatment Plan identifies initial diagnostic

       impressions, identifies treatment objectives, identifies treatment areas, and lists goals on

       how to meet all objectives.      Each Treatment Plan contains a therapeutic counseling

       component.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
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